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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



Senator RICHARD BLUMENTHAL, et al.,

                           Plaintiffs,

               v.                                      Civil Action No. 18-2664 (RDM)
MATTHEW G. WHITAKER, et al.,

                           Defendants.



             PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR
                 A STAY OF TIME TO ANSWER THE COMPLAINT

       Plaintiffs respectfully submit this opposition to Defendants’ motion for a stay of time to

answer the Complaint. As described in greater detail in the Complaint, Plaintiffs bring this action

to challenge the unlawful designation of Matthew Whitaker to perform the duties of Attorney

General. Because Mr. Whitaker has not been confirmed by the Senate to serve as Attorney General

or, indeed, in any position in the Department of Justice (DOJ), this designation violates the

Appointments Clause, which provides that the President “shall nominate, and by and with the

Advice and Consent of the Senate, shall appoint . . . all . . . Officers of the United States.” U.S.

Const. art. II, § 2, cl. 2. Staying Defendants’ time to answer would unnecessarily delay this Court’s

ability to adjudicate the important questions presented by this case and would potentially prolong

the duration of Mr. Whitaker’s unlawful service as Acting Attorney General. The Administration

should not be permitted to use a government shutdown of its own making to delay or avoid judicial

review of its ongoing violation of the Constitution.

       Moreover, should the Court deny this request for a stay, the DOJ’s own policies will permit

attorneys to continue working on this case during the current lapse of appropriations,

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so Defendants will not be prejudiced by the denial of their request. See U.S. Department of Justice,

FY   2019 Contingency Plan,           at   3 (Sept. 11, 2018)        (“DOJ    Contingency Plan”),

https://www.justice.gov/jmd/page/file/1015676/download (“If a court denies [a request for

postponement] and orders a case to continue, the Government will comply with the court’s order,

which would constitute express legal authorization for the activity to continue.”). Indeed, those

policies reflect the Department’s recognition that a lapse in appropriations should not prevent the

continuation of cases, like this one, that are of exceptional importance. For those reasons,

Defendants’ motion to stay the time to answer the Complaint should be denied.

                                           DISCUSSION

         Plaintiffs bring this action to challenge the designation of Mr. Whitaker to perform the

duties of Attorney General. As described in the Complaint, Mr. Whitaker has not been appointed

in a manner consistent with the requirements of the Appointments Clause, which gives the Senate

an essential role in determining who serves in the executive branch’s most important positions.

The Framers gave the Senate this role because they believed that the concurrence of the Senate in

the appointment of the nation’s principal officers “would tend greatly to prevent the appointment

of unfit characters,” The Federalist No. 76, at 457 (Alexander Hamilton) (Clinton Rossiter ed.,

1961)—those with “no other merit than that of . . . possessing the necessary insignificance and

pliancy to render them the obsequious instruments of [the President’s] pleasure,” id. at 458; see

Letter      from      Roger      Sherman       to       John    Adams        (July      20,         1789),

https://founders.archives.gov/documents/Adams/99-02-02-0689          (“Where         ever     the    chief

Magistrate may appoint to offices without control, his government may become absolute or at least

oppressive. Therefore the concurrence of the Senate is made requisite by our Constitution.”).

         Granting Defendants’ motion for a stay would delay this Court’s resolution of the critically



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important questions this case presents, extending the period of time in which Mr. Whitaker is

allowed to serve unlawfully as Acting Attorney General. During that period, he may make

innumerable decisions on behalf of the United States and within the DOJ—many of which will be

incapable of being reversed after the fact.1 Given the gravity of the potential consequences of

delay, the prejudice to Plaintiffs’ interests is reason enough to deny the Defendants’ motion for a

stay, and this case should proceed as expeditiously as possible.

       In addition, federal law permits DOJ attorneys to work during a lapse of appropriations in

certain circumstances. See 31 U.S.C. § 1342. And the Department has construed that exception

to include situations in which a court denies a request for a stay of proceedings like the motion

filed here. See DOJ Contingency Plan at 3. The Department has also designated 49% of Civil

Division staff as “excepted employees,” who are “excepted from the Antideficiency Act

restrictions and can continue [to work] during a lapse in appropriations.” Id. at 1, 12 tbl.2. Thus,

Defendants would not be prejudiced by the denial of this motion, whereas granting the motion

would prejudice Plaintiffs.    Indeed, the Department’s guidance reflects its recognition that

litigation should continue in cases, like this one, that are of exceptional significance. This case

presents questions about whether the person currently serving as acting head of the Department of

Justice may lawfully perform the functions and duties of that office, and the resolution of those




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          To be sure, formal decisions Mr. Whitaker makes as Acting Attorney General may
become subject to invalidation if they are not ratified by a Senate-confirmed successor. See
Wilkes-Barre Hosp. Co., LLC v. NLRB, 857 F.3d 364, 371 (D.C. Cir. 2017). Nevertheless, as a
practical matter, the steps taken to implement those decisions, the passage of time, and the
intervention of subsequent events will render many of his decisions effectively irrevocable. In
addition, many of Mr. Whitaker’s informal actions as Acting Attorney General—including the
guidance and direction he provides to DOJ personnel—may not be amenable to reversal in court
at the behest of interested parties, notwithstanding their significant effects. Simply put, it will be
impossible to un-ring the bell for many actions that Mr. Whitaker takes during his unlawful tenure
as Acting Attorney General.

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questions could have profound consequences not only for the parties, but also for the American

people.

          No doubt for these reasons, other courts have denied similar DOJ motions to stay

proceedings during this lapse in appropriations. See, e.g., Kornitzky Group, LLC v. Elwell, No.

18-1160 (D.C. Cir. Jan. 9, 2019) (denying motion for stay of oral argument and citing the DOJ’s

contingency plan and 31 U.S.C. § 1342 to confirm that the Department has the authority to conduct

the argument); Order at 1, Maryland v. United States, No. 18-2849 (D. Md. Jan. 3, 2019) (Dkt.

No. 49) (denying motion to stay in light of the “potential significance of this matter to the health

and well-being of the citizens of Maryland”); Order at 2, New York v. U.S. Dep’t of Labor, No.

18-1747 (D.D.C. Dec. 28, 2018) (Dkt. No. 71) (denying motion to stay filing of joint appendix in

light of “government reports stating that a significant percentage of Civil Division staff are

excepted from the ongoing lapse in appropriations” and “the exceptional significance of this

litigation for all involved”); Order, California v. Ross, No. 18-1865 (N.D. Cal. Dec. 26, 2018)

(Dkt. No. 122) (denying motion to stay pretrial deadlines, pretrial conference, and trial due to lapse

in appropriations); Order, California v. Health and Human Servs., No. 17-5783 (N.D. Cal. Dec.

27, 2018) (Dkt. No. 183) (denying motion to stay due to lapse in appropriations). This Court

should do the same.




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                                      CONCLUSION
       For the foregoing reasons, Defendants’ motion to stay the time to answer the Complaint

should be denied.

                                             Respectfully submitted,

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Dated: January 11, 2019




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                                CERTIFICATE OF SERVICE
       I hereby certify that on January 11, 2019, the foregoing document was filed with the Clerk

of the Court, using the CM/ECF system, causing it to be served on all counsel of record.

Dated: January 11, 2019                          Respectfully submitted,

                                                 /s/ Brianne J. Gorod
                                                 Brianne J. Gorod
